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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

IN RE:

PERFORMANCE POWERSPORTS GROUP                      :      CASE NO. 23-10047
PURCHASER, INC.; PERFORMANCE                       :
POWERSPORTS GROUP, INC.;                           :
PERFORMANCE POWERSPORTS GROUP                      :      CHAPTER 11
HOLDINGS, INC.; PERFORMANCE                        :
POWERSPORTS GROUP INVESTOR, LLC                    :      MOTION NO.
                                                   :      Filed under Local Bankr.
                             Debtors               :      Rule

         MOTION OF THE ESTATE OF MALIK S. WILLIAMS, JR., DECEASED
                    FOR RELIEF FROM AUTOMATIC STAY

    Movant, Martin Kleinman, Esquire, as duly-appointed Administrator of the Estate of Malik
Williams, deceased, through his attorney, Eric G. Zajac, Esquire, ZAJAC & PADILLA, LLC,
respectfully moves this Honorable Court for an Order granting Relief from the Automatic Stay
Provisions of § 11 U.S.C. §§ 101–1532 of the Bankruptcy Code. In support of his Motion,
Movant establishes as follows:

   1. On January 16, 2023, the above-referenced Debtors filed a petition under Chapter 11 of
      the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware
      at Case No. 23-10047.
   2. This is a proceeding, arising under Title 11, over which this Court has jurisdiction
      pursuant to 28 U.S.C. § 157(a) and 157 (b)(2)(g).
   3. In March of 2020, prior to the commencement of this bankruptcy case, Movants brought
      a personal liability and product liability action against one of the more debtors, namely,
      Rich Godfrey & Associates, Inc. d/b/a Coleman Powersport in the Philadelphia County
      Court of Common Pleas, styled as Martin I. Kleinman, Esquire, as personal
      representative of the estate of Malik S. Williams, JR., deceased v. Mr. Warren M. Garrett,
      Chongqing Huansong Science and Technology Industrial Co, LTD., Hisun Motors Corp,
      U.S.A., The Coleman Company, Inc., Mr. Antione S. Hardman, and Ms. Serita Hunter,
      Philadelphia County Court of Common Pleas, March Term , 2020 Civil Action No:
      00398 (“state court litigation”), seeking damages wrongful death and survival claims in
      state court in connection with their claims against the Debtor.
   4. After filing the aforesaid lawsuit, and as the litigation proceeded toward a trial date,
      counsel received a “Suggestion of Bankruptcy” from Andrew Siegeltuch, Attorney for
      Rick Godfrey & Associates, Inc. d/b/a Coleman Powersports in the state court litigation.
      The “Suggestion of Bankruptcy” advised that the state court litigation was void ab initio
      as against The Coleman Company defendants by operation of the automatic stay under §
      36 of the Federal Bankruptcy Code. (A copy of the Suggestion of Bankruptcy is attached
      as Exhibit A").
   5. Based on the information provided, Movant now seeks relief from the automatic stay in
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      order that debtor may be joined in this underlying personal liability and product liability
      action so that it may continue in state court in Pennsylvania to its conclusion.
   6. The Debtor is insured for the claims asserted by Movants in the state court action under
      multiple policies of liability insurance through multiple insurers providing primary and
      excess coverage totaling ten (10) million dollars, according to discovery responses
      provided in the state court litigation, and attached in pertinent part as Exhibit B.
   7. Specifically, the debtor is insured as follows:

           •    Admiral Insurance Co. provides a primary liability coverage limit of $1,000,000.
           •    Admiral Insurance Co. provides an excess liability coverage limit of $4,000,000.
           •    Pioneer Special Risk provides additional excess liability coverage of $5,000,000.
                See Exhibit B.
    8. Upon information and belief, there are no deductibles or self-insured retentions under the
         above policies.
    9. Movant’s claims against the Debtor can be more efficiently resolved in the Philadelphia
         County Court of Common Pleas and Movants seek in the Common Pleas action to
         impose joint and several liability against the Debtor whose liability must also be
         determined.
    10. The availability of multiple insurance policies for payment of these claims constitutes
         cause for relief from the Automatic Stay under 11 U.S.C. § 362(d)(1).
    11. If granted relief from the Automatic Stay to pursue claims against the debtor in the
         Philadelphia County Court of Common Pleas action, Movant will limit recovery against
         the Debtor to amounts payable by the Debtor’s liability insurance carriers and will not
         seek payment by the Trustee out of the assets of the Debtor’s estate.
    12. Resolution of Movant’s claims against the Debtor in the Philadelphia County Court of
         Common Pleas action would, accordingly, neither affect the assets of the Debtor’s estate
         nor impose any burdens upon the Trustee.
    13. The circumstances under which Movant seeks emergency relief from the Automatic Stay
         Provisions of § 362 of the Bankruptcy Code are set forth by Movant’s Certification of
         Necessity, which is attached and incorporated fully herein.
    WHEREFORE, Movant respectfully requests that this Honorable Court enter the attached
Order modifying the Automatic Stay provisions of § 362 of the Bankruptcy Code to permit
Movant to proceed with the Philadelphia County Court of Common Pleas action with the
provision that recovery against the Debtor therein by limited to amounts payable by the Debtor’s
liability insurance carrier.



                                                            Respectfully Submitted,
                                                            ZAJAC & PADILLA, L.L.C.


                                                             BY:
                                                             Eric G. Zajac
 Dated: March 17, 2023                                       Attorney for Plaintiff
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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

IN RE:

PERFORMANCE POWERSPORTS GROUP                       :      CASE NO. 23-10047
PURCHASER, INC.; PERFORMANCE                        :
POWERSPORTS GROUP, INC.;                            :
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POWERSPORTS GROUP INVESTOR, LLC                     :      MOTION NO.
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                             Debtors                :      Rule

                          NOTICE AND ORDER SETTING DATE

    AND NOW, this             day of       , 2023, upon consideration of the Motion the Estate of
Malik S. Williams, JR., deceased, for Emergency Relief from the Automatic Stay Provisions of §
362 of the Bankruptcy Code (“the Motion”), it is hereby ORDERED that all interested parties are
given notice that this Court will hear the Motion on         .
 It is further ORDERED that Movant’s counsel shall serve a copy of this Order on all interested
parties within five (5) days of receipt of this Order.
                                                       BY THE COURT:



                                            _________________________________
                                           United States Bankruptcy Judge
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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

IN RE:

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POWERSPORTS GROUP INVESTOR, LLC                     :      MOTION NO.
                                                    :      Filed under Local Bankr.
                             Debtors                :      Rule

                ORDER GRANTING RELIEF FROM AUTOMATIC STAY

 AND NOW, this           day of        , 2023, upon consideration of the Motion of the Estate of
Malik S. Williams, JR, deceased, for Relief from the Automatic Stay Provisions of § 361 of the
Bankruptcy Code, and upon consideration of any responses thereto and any oral arguments
thereon, it is hereby ORDERED, ADJUDGED and DECREED that the Automatic Stay
Provisions of § 362 of the Bankruptcy Code, 11 U.S.C. § 362, are hereby terminated with respect
to the Movant’s claims pending against the Debtor in the Philadelphia County Court of Common
Pleas at Civil Action March term, 2020 No: 00398, provided that Movant’s claims against the
Debtor shall be payable through the Debtor’s liability insurance policy or policies and shall not
be payable by the Trustee from any asset of the Debtor’s Estate.

                                                    BY THE COURT:



                                            _________________________________
                                           United States Bankruptcy Judge
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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE:

PERFORMANCE POWERSPORTS GROUP                     :      CASE NO. 23-10047
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HOLDINGS, INC.; PERFORMANCE                       :
POWERSPORTS GROUP INVESTOR, LLC                   :      MOTION NO.
                                                  :      Filed under Local Bankr.
                            Debtors               :      Rule

             CERTIFICATE OF SERVICE UPON INTERESTED PARTIES

I, ERIC G. ZAJAC, ESQUIRE, hereby certify that on this 9th day of March, 2023, I caused a
true and correct copy of the Motion of the Estate of Malik S. Williams, JR, deceased, for
Emergency Relief from the Automatic Stay to be served upon counsel for the Debtor, the United
States Trustee and all other interested partied by e-mail and or ecf including on:

   Andrew Siegeltuch, Esquire
   Lucosky Brookman, LLP
   ID No.: 40972
   1650 Market Street, Suite 3600
   Philadelphia, PA 19103

   Ryon T. Yemm, Esquire
   The Sheehan Firm, P.C.
   6 Spring Street
   Cary, IL 60013


                                                         Respectfully Submitted,
                                                         ZAJAC & PADILLA, L.L.C.


                                                          BY:
                                                          Eric G. Zajac
 Dated: March 17, 2023                                    Attorney for Plaintiff
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                              Debtors                :      Rule

                                CERTIFICATE OF NECESSITY
  I, Eric G. Zajac, Esquire, am counsel for the plaintiffs in the matter styled Martin I. Kleinman,
Esquire, as personal representative of the estate of Malik S. Williams, JR., deceased v. Mr.
Warren M. Garrett, Chongqing Huansong Science and Technology Industrial Co, LTD., Hisun
Motors Corp, U.S.A., The Coleman Company, Inc., Mr. Antione S. Hardman, and Ms. Serita
Hunter, Philadelphia County Court of Common Pleas, Civil Action No: March Term, 2020 No.
00398. I make this Certification in support of Movant, the Estate of Malik S. William’s, JR,
deceased, Motion for Emergency Relief from the Automatic Stay Provisions of § 362 of the
Bankruptcy Code.
Malik Williams was killed in a product liability claim. Due to the automatic stay provision of the
Bankruptcy Code, the Estate of Malik S. Williams, JR, deceased, has not been able to proceed
with the personal injury and product liability action instituted in the Philadelphia County Court
of Common Pleas in March of 2020. The Estate of Malik S. Williams, JR, deceased, has suffered
significant financial hardship since the wrongful death.
The Estate does not seek to proceed against any of the assets of the Debtors’ estate. He will agree
to limit recovery against the Debtors to the aggregate amount(s) payable by the Debtors’ liability
insurance carrier(s). Because the Estate’s financial condition is precarious, and because his claim
against the Debtors will not put any of the Debtors’ assets at risk, it is necessary for this
Honorable Court to lift the automatic stay provisions provided by § 362 of the Bankruptcy Code.

                                                            Respectfully Submitted,


                                                            ZAJAC & PADILLA, L.L.C.


                                                              BY:
                                                              Eric G. Zajac, Esquire
 Dated: March 17, 2023                                        Attorney for Plaintiff
